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 3
 4                              IN THE UNITED STATES DISTRICT COURT

 5                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 6
 7   UNITED STATES OF AMERICA,                  )        Case №:2:95-cr-00235-03 WBS
                                                )
 8
                     Plaintiff,                 )                       ORDER
 9
                                                )               APPOINTING COUNSEL
10
             vs.                                )
11
                                                )
12
     PABLO CASTRO MARRON,                       )
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                                                )
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                     Defendant.                 )
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                                                )
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            Pursuant to General Order No. 546 and the provisions of the Criminal Justice Act, 18
18   U.S.C. §§ 3006A(a)(1) and (c), and in accordance with the retroactive application of the United
19   States Sentencing Commission’s Amendment 782, CJA Panel attorney, John P. Balazs, is hereby
20   appointed effective, September 12, 2017, the date the Office of the Federal Defender first
21   contacted this attorney.
22   Dated: September 13, 2017
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     ORDER APPOINTING COUNSEL                        1
